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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )      8:05CR162
                                                )
                    Plaintiff,                  )
                                                )      ORDER
                    vs.                         )
                                                )
HILARIO FELIX,                                  )
                                                )
                    Defendant                   )


      This matter is before the court on the government’s motion to file under seal (Filing
No. 188). Upon consideration,


      IT IS ORDERED:
      1.     The government’s motion to file under seal (Filing No. 188) is granted.
      2.     The Government’s Brief in Objection to Defendant’s Amended Motion to
Suppress and accompanying Exhibit Numbers 1through 16A are to be sealed.
      DATED this 6th day of July, 2006.
                                         BY THE COURT:
                                         s/Thomas D. Thalken
                                         United States Magistrate Judge
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